                                                Case 3:23-cv-03007-VC                                  Document 139               Filed 05/08/25               Page 1 of 1


  UNITED STATES DISTRICT COURT                                                                 TRANSCRIPT ORDER                                                                                  COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                   Please use one form per court reporter. Please read instructions on next page.                                                    DUE DATE:
                 CAND 435                                                             CJA Counsel should NOT use this form.
             (CAND Rev. 07/2024)                                    CJA Counsel should request transcripts by submitting a AUTH24 in eVoucher.

1a. CONTACT PERSON FOR THIS ORDER                                                2a. CONTACT PHONE NUMBER                                                3. CONTACT EMAIL ADDRESS
Adele Doyle                                                                      (415) 442-1158                                                            adele.doyle@morganlewis.com
1b. ATTORNEY NAME (if different)                                                 2b. ATTORNEY PHONE NUMBER                                               3. ATTORNEY EMAIL ADDRESS
Eric Meckley                                                                      (415) 442-1013                                                           eric.meckley@morganlewis.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                  5. CASE NAME                                                                              6. CASE NUMBER
Morgan, Lewis & Bockius LLP
One Market, Spear Street Tower                                                                              Schobinger v. Twitter, Inc. and X Corp.                                                   3:23-cv-03007
San Francisco, CA 94105
                                                                                                           8. THIS TRANSCRIPT ORDER IS FOR:
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)→ ❐ FTR                                        ❐ APPEAL           ❐ CRIMINAL         ❐ In forma pauperis (NOTE: Court order for transcripts must be
Ruth Ekhaus                                                                                                ❐ NON-APPEAL       ✔ CIVIL
                                                                                                                              ❐                  attached) CJA: Do not use this form; use Form AUTH24 in eVoucher.


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                     (initials)    (e.g. CMC)    specify portion (e.g. witness or time)




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10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:




ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                              12. DATE
11. SIGNATURE
                 /s/ Eric Meckley                                                                                                                                                 05/08/2025


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